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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

In re: BOY SCOUTS OF AMERICA AND
DELAWARE BSA, LLC, Chapter 11

Debtors. Bankruptcy Case No. 20-10343 (LSS)
(Jointly Administered)

NATIONAL UNION FIRE INSURANCE CO. OF
PITTSBURGH, PA, et al.,

Appellants, Case No. 22-cv-01237-RGA
v.

BOY SCOUTS OF AMERICA AND DELAWARE
BSA, LLC,

Appellees.

DECLARATION OF DELIA LUJAN WOLFF IN SUPPORT OF
RENEWED EMERGENCY MOTION OF LUJAN CLAIMANTS
FOR STAY PENDING APPEAL AND MOTION TO STAY APPEALS

I, Delia Lujan Wolff, hereby declare and state as follows:

1. I am an attorney representing 75 creditors known as “Lujan Claimants.”
This Declaration is based upon my personal knowledge and I am competent to testify
as to the facts set forth herein.

2. Attached hereto as Exhibit | is a true and correct copy of Lujan Claimants’
Renewed Motion for Stay of Bankruptcy Plan and Motion to Stay Appeal, which

was filed on August 16, 2023, with the Third Circuit in Lujan Claimants v. Boy

Scouts of America, Case No. 23-1664.

3. Attached hereto as Exhibit 2 is a true and correct copy of the Order issued

by the Third Circuit on August 18, 2023, in Lujan Claimants, Case No. 23-1664.

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4. Attached hereto as Exhibit 3 is a true and correct copy of Lujan Claimants’
Opening Brief filed in their appeal before the Third Circuit, Case No. 23-1664.

5. Attached hereto as Exhibit 4 is a true and correct copy of an excerpt from
the Solicitation Version of the Amended Disclosure Statement for the Modified Fifth
Amended Chapter 11 Plan of Reorganization for Boy Scouts of America and
Delaware BSA, LLC filed by Debtors Boy Scouts of America and Delaware BSA,

LLC, on September 30, 2021, in In re Boy Scouts of America, Case No. 20-10343

(LSS), Bankr. D.I. 6445. Particular attention should be paid to footnote 85 on page
95 of the document.

6. Attached hereto as Exhibit 5 is a true and correct copy of an email I received
on August 4, 2023.

7. Attached hereto as Exhibit 6 is a true and correct copy of an email I received
on August 17, 2023.

I declare under penalty of perjury under the laws of the United States that the
foregoing is true and correct.

Executed in Guam this 19" day of August, 2023, Chamorro Standard Time.

Qe.A- > Woyf-

DELIA LUJAN WOLF /

